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 8                              UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,
12                 Plaintiff,                    No. CR-S- 05-0356 FCD
13         v.
14   KEITH CAIN,                                 RELATED CASE ORDER
15               Defendant.
     ________________________________/
16
17   UNITED STATES OF AMERICA,
18                 Plaintiff,                    No. CR-S- 06-0054 FCD
19         v.
20   DENNIS NORTON, and
     MARGIE NOVAK,
21
                 Defendants.
22   ________________________________/
23   UNITED STATES OF AMERICA                    No. CR-S-06-0461 GEB
24                 Plaintiff,
25         v.
26   VIRGINIA ROMERO &
     TERRY NELSON,
27
                 Defendants.
28   _________________________________/
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 1              Examination of the above-entitled actions reveals that they are related within the meaning
 2   of Local Rule 83-123(a) (E.D. Cal. 1997). The actions involve many of the same defendants and
 3   are based on the same or similar claims, the same property transaction or event, similar questions
 4   of fact and the same questions of law, and would therefore entail a substantial duplication of
 5   labor if heard by different judges. Accordingly, the assignment of the matters to the same judge
 6   is likely to effect a substantial savings of judicial effort and is also likely to be convenient for the
 7   parties.
 8              The parties should be aware that relating the cases under Local Rule 83-123 merely has
 9   the result that these actions are assigned to the same judge; no consolidation of the actions is
10   effected. Under the regular practice of this court, related cases are generally assigned to the
11   judge and magistrate judge to whom the first filed action was assigned.
12              IT IS THEREFORE ORDERED that the action denominated, CR S-06-0461 GEB is
13   reassigned to Judge Frank C. Damrell, Jr. for all further proceedings, and any dates currently set
14   in the reassigned case only are hereby VACATED. Henceforth, the caption on documents filed
15   in the reassigned case shall be shown as, CR S-06-0461 FCD.
16              A status conference is set for Monday, February 26, 2007 at 10:00 a.m. in Courtroom #2
17   before the Honorable Frank C. Damrell Jr.
18              IT IS FURTHER ORDERED that the Clerk of Court make appropriate adjustment in the
19   assignment of criminal cases to compensate for this reassignment.
20              IT IS SO ORDERED.
21   DATED: February 14, 2007
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24                                             _______________________________________
                                               FRANK C. DAMRELL, JR.
25                                             UNITED STATES DISTRICT JUDGE
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